6/22/23, 8:34Case
             AM   5:23-cv-11074-JEL-EAS             ECFSearch
                                                         No.Summary
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                                                                                                   Division


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        ID Number: 800902778                                        Request certificate       Return to Results   New search

       Summary for: LIBERTARIAN PARTY OF MICHIGAN EXECUTIVE COMMITTEE, INC.

       The name of the DOMESTIC NONPROFIT CORPORATION:                LIBERTARIAN PARTY OF MICHIGAN EXECUTIVE
       COMMITTEE, INC.




       Entity type:   DOMESTIC NONPROFIT CORPORATION

       Identification Number: 800902778 Old ID Number: 792439


      Date of Incorporation in Michigan:      01/19/2005


      Purpose:


      Term:    Perpetual


      Most Recent Annual Report:      2022                     Most Recent Annual Report with Officers & Directors:            2022


       The name and address of the Resident Agent:
       Resident Agent Name:           GREGORY STEMPFLE
       Street Address:                2615 HYLAND ST
       Apt/Suite/Other:

       City:                          FERNDALE                       State: MI                   Zip Code:    48220

       Registered Office Mailing address:
       P.O. Box or Street Address:    2615 HYLAND ST
       Apt/Suite/Other:
       City:                          FERNDALE                      State: MI                    Zip Code:    48220




      The Officers and Directors of the Corporation:

       Title                   Name                                        Address
       PRESIDENT               MIKE SALIBA                                 16231 SCENIC CLINTON TWP, MI 48038 USA
       TREASURER               ANGELA THORNTON                             15223 RIPPLE DR LINDEN, MI 48451 USA
       SECRETARY               JAMI VAN ALSTINE                            28158 HEATHER WAY ROMULUS, MI 48174 USA
       DIRECTOR                JAY GILLOTTE                                8220 E DAVID HWY LYONS, MI 48851 USA
       DIRECTOR                ARI ABRAHAM                                 15318 MEADOWS DR GRAND HAVEN, MI 49417 USA
       DIRECTOR                ANDREW DUKE                                 440 S MOORLAND DR BATTLE CREEK, MI 49015 USA
       DIRECTOR                BRIAN ELLISON                               15006 WOODPINE DR MONROE, MI 48161 USA
       DIRECTOR                MARK KING                                   708 N PROSPECT RD YPSILANTI, MI 48198 USA
       DIRECTOR                LISA GIOIA                                  359 GRANDA VISTA DR MILFORD, MI 48380 USA
       DIRECTOR                KYLE MCCAULEY                               115 MICHAEL RD LAPEER, MI 48446 USA
       DIRECTOR                JOE BRUNGARDT                               4140 18 1/2 MILE RD STERLING HTS, MI 48314 USA
       DIRECTOR                GREGG SMITH                                 1524 ETHEL AVE LINCOLN PARK, MI 48146 USA
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6/22/23, 8:34Case
             AM   5:23-cv-11074-JEL-EAS              ECFSearch
                                                          No.Summary
                                                               17-10,    PageID.957
                                                                     State                    Filed
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      Act Formed Under:      162-1982 Nonprofit Corporation Act


      The corporation is formed on a Directorship basis.


       D Written Consent

                                                View Assumed Names for this Business Entity



      View filings for this business entity:

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       ANNUAL REPORT/ANNUAL STATEMENTS
       ARTICLES OF INCORPORATION
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